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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF T XAGERK, US Dig
AMARILLO DIVISION | TRICT CoURy

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UNITED STATES OF AMERICA

v. No. 2:19-CR-118-Z

LINDSAY CLARE WILLIAMS
FACTUAL RESUME

In support of Lindsay Clare Williams’ plea of guilty to the offense in Count One
of the Information, Williams, the defendant, Chuck Lanehart, the defendant’s attorney,
and the United States of America (the government) stipulate and agree to the following:

ELEMENTS OF THE OFFENSE

To prove the offense alleged in Count One of the Information, charging a violation
of 18 U.S.C. § 371, that is, Conspiracy to Commit Bank Fraud, the government must
prove each of the following elements beyond a reasonable doubt:

Conspiracy to Commit Bank Fraud!

First. That the defendant and at least one other person made an agreement
to commit the crime of bank fraud, as charged in the Information;

Second. That the defendant knew the unlawful purpose of the agreement and
joined in it willfully, that is, with the intent to further the unlawful
purpose; and

Third. That one of the conspirators during the existence of the conspiracy
knowingly committed at least one of the overt acts described in the
Information, in order to accomplish some object or purpose of the
conspiracy.

 

'Fifth Circuit Pattern Jury Instruction 2.15A (5th Cir. 2015 ed.).

Lindsay Clare Williams
Factual Resume—Page 1

 

 

 
Case 2:19-cr-00118-Z-BR Document 7 Filed 10/07/19 Page 2of10 PagelD 17

Bank Fraud?
First. That the defendant knowingly executed a scheme or artifice;

Second. That the scheme or artifice was to defraud a financial institution, as
alleged in the Information;

Third. That the defendant had the intent to defraud the financial institution;

Fourth. That the scheme or artifice to defraud was material, employed a false
material representation, or concealed a material fact; and

Fifth. That the defendant placed the financial institution at risk of civil
liability or financial loss.

STIPULATED FACTS

1. Lindsay Clare Williams admits and agrees that beginning on or about a date
unknown and continuing until on or about July 27, 2018, in the Amarillo Division of the
Northern District of Texas, and elsewhere, Lindsay Clare Williams, defendant, did
knowingly and willfully combine, conspire, confederate, or agree with others, persons
known or unknown to the United States, to commit bank fraud, in violation of Title 18,
United States Code, Sections 1344(1), with knowledge of the unlawful purpose of the
agreement. All in violation of Title 18, United States Code, Section 371.

2. In 2013, Lindsay Clare Williams was hired by Reagor Dykes Auto Group
(RDAG), and she later became a group accounting manager.

3. On or about February 1, 2018, the Amarillo office of the Federal Bureau of
Investigation received information that RDAG was engaged in fraudulent activity. The

FBI began investigating the allegations and learned that Shane Smith, RDAG CFO,

 

*Fifth Circuit Pattern Jury Instruction 2.58A (5th Cir. 2015 ed.).

Lindsay Clare Williams
Factual Resume—Page 2

 
Case 2:19-cr-00118-Z-BR Document 7 Filed 10/07/19 Page 3of10 PagelD 18

Williams, and other co-conspirators were involved with an extensive check-kiting
scheme involving at least 19 accounts located at several banks including, but not limited
to, the following: 1) FirstCapital Bank of Texas (FCBTX); 2) AimBank; 3) FirstBank &
Trust; 4) IBC Bank; 5) Liberty Capital Bank; 6) Peoples Bank; 7) Vista Bank; and

8) Branch Banking and Trust Company (BB&T). The deposits of all eight banks are
insured by the Federal Deposit Insurance Corporation (FDIC).

4. “Check-kiting” is a systematic scheme to defraud, whereby nonsufficient
checks are traded or cross deposited between two or more checking accounts in order to
artificially inflate the bank account balances. This is accomplished by using the float
time in the bank system. Once bank accounts are artificially inflated, checks that would
normally be returned for nonsufficient funds are, in fact, paid or honored by the issuing
banks. There are no actual goods or services provided in exchange for a kited check, nor
is there a legitimate or well-documented loan between the two account holders. The
purpose of the check-kiting is to falsely inflate the balances in two or more checking
accounts in order to allow payroll checks, vendor checks, and other legitimate debits to
clear. In this way, rather than negotiable instruments, checks are misused as a form of
unauthorized credit. |

5. The FBI interviewed several witnesses. These witnesses said RDAG was
under-capitalized due to its aggressive growth and acquisitions of new dealerships,
above-market employee compensation, and unnecessary overhead. To compensate,
RDAG kited intercompany checks to falsely inflate its account balances. The FBI

learned in its investigation that the check-kiting scheme grew over time and, just prior to

Lindsay Clare Williams
Factual Resume—Page 3

 

 

 
Case 2:19-cr-00118-Z-BR Document 7 Filed 10/07/19 Page 4of10 PagelD 19

the collapse on June 26, 2018, RDAG had an entire team at its headquarters designated to
kite checks.

6. The FBI investigation revealed that by July 2018, at least 19 accounts, from
several banks, involving nine different RDAG entities, had been utilized to kite checks.
The accounts were identified as kite accounts by one or more of the following indicators:
(1) intercompany checks with no apparent legitimate business purpose were being
deposited into and drawn on the accounts on a daily basis, (2) the aggregate amount of
intercompany checks being deposited into an account was roughly equal to the aggregate
amount of intercompany checks being drawn on that account for a given time period,

(3) there was a significant or exponential increase in the monthly dollar volume of
intercompany checks leading up to the collapse, (4) there was a negative account balance
or a large chargeback after the collapse, and/or (5) the account was identified as a kite
account by witnesses or co-conspirators.

7. Williams admits she and her co-conspirators kited checks through these 19
accounts to falsely inflate the daily balances of RDAG’s accounts. Those 19 accounts

were as follows:

 

 

 

 

 

 

 

 

 

 

 

 

 

Account # Bank Name on Account

XXXXX1179 AimBank Reagor-Dykes Motors LP

XXXXX 3183 AimBank Reagor-Dykes Snyder LP

XXXXX02177610 | BB&T Reagor-Dykes Snyder LP Funding
Account

XXXXX 15978 FirstBank & Trust | Reagor Auto Mall Ltd

XXXXKX 991 FCBTX D and R Acquisitions LLC - Real
Estate

XXXXX 144 FCBTX Reagor Auto Mall Ltd

XXXKX 488 FCBTX Reagor-Dykes Amarillo LP

Lindsay Clare Williams

Factual Resume—Page 4

 
Case 2:19-cr-00118-Z-BR Document 7 Filed 10/07/19 Page5of10 PagelD 20

 

 

 

 

 

 

 

 

 

 

 

 

 

XXXXX 013 FCBTX Reagor-Dykes Floydada LP
XXXXKX 31714 IBC Bank D and R Acquisitions LLC
XXXXX 31811 IBC Bank Reagor-Dykes Auto Company LP
XXXXX 31838 IBC Bank Reagor-Dykes Imports LP
XXXXX 31846 IBC Bank Reagor-Dykes Amarillo LP
XXXXX 31862 IBC Bank Reagor-Dykes Plainview LP
XXXXX 32117 IBC Bank D and R Acquisitions LLC
XXXXX 34 Liberty Capital Reagor-Dykes Auto Direct of
Bank Dallas
XXXXKX 8379 Peoples Bank Reagor-Dykes Snyder LP
XXXXX 93 _ | Vista Bank Reagor-Dykes Auto Company LP
XXXXX 94 Vista Bank Reagor-Dykes Imports LP
XXXXX 88 Vista Bank Reagor-Dykes Plainview LP

 

 

 

 

8. Two of the 19 accounts that were used to kite checks belonged to Reagor Auto
Mall (RAM). The FBI interviewed witnesses about the checks that went back and forth
between the two RAM accounts at FirstBank & Trust and FCBTX. The FirstBank & Trust
account had blue check stock, while the FCBTX account had red check stock. The bank
accounts usually had negative balances in the morning, sometimes as low as negative
$900,000. After Smith was notified of the anticipated legitimate deposits for that day, he
would instruct other co-conspirators the total amount to cut from one account to the other
account by the end of the day, usually by sending an email such as “put 550k of blue” (blue
referring to the color of the checks) or whatever was needed. The co-conspirators made up
random amounts for each check to total the amount provided by Smith. The bank accounts
usually showed positive balances again by the end of each day due to these checks.

9. Some of the emails the FBI recovered show Smith and co-conspirators
discussing the check-kiting scheme, specifically an email on October 2, 2017, where a
RDAG employee emailed Smith: “$298090.59. How much in blue checks today?” Smith

Lindsay Clare Williams
Factual Resume—Page 5

 

 
Case 2:19-cr-00118-Z-BR Document 7 Filed 10/07/19 Page 6of10 PagelD 21

replied, “$280k or more.” On December 20, 2017, an RDAG employee emailed Smith
“$215k.” Smith replied, “Time to change up what we have been doing!! $450k blue
checks.” For example, on July 25, 2018, there were 117 distinct items totaling
$5,449,912.80 that were deposited into FCBTX account XXXXX144. Sixty-six of those
117 items, totaling $4,262,104.20, were intercompany checks or transfers from other
RDAG entities. Some of the intercompany transactions were possibly legitimate, but most
were not. There were ten checks totaling $582,145.00 from FirstBank & Trust account
XXXXX15978 deposited into FCBTX account XXXXX144 on July 25, 2018. All ten
checks were for whole dollar amounts with no cents. On that same date, July 25, 2018,
there were 154 checks or other debit items totaling $4,502,114.36 that cleared FCBTX
account XXXXX144. Sixty-six of those checks or other debit items totaling $3,582,216.99
were intercompany checks to other RDAG entities. A few of the intercompany checks
listed were legitimate, but most were not. There were ten checks totaling $526,716.00 that
were written to RAM. All ten checks were for whole dollar amounts with no cents.
Compare this figure to the ten checks totaling $582,145.00 from FirstBank & Trust account
XXXXX15978 deposited into FCBTX account XXXXX144 on July 25, 2018. The similar
amounts going back and forth on the same day is indicative of check-kiting.

10. Two other accounts that were used to kite checks belonged to Reagor-Dykes
Amarillo LP, and Williams was an authorized signer on both accounts.. FCBTX account
XXXXX488 titled “Reagor-Dykes Amarillo LP” was opened on August 9, 2015. Deposit
and withdrawal activity in FCBTX account XXXXX488 rose exponentially. Deposits rose

from $4,765,521.40 during the month of February 2017 to a peak of $30,873,930.74 in

Lindsay Clare Williams
Factual Resume—Page 6

 
Case 2:19-cr-00118-Z-BR Document 7 Filed 10/07/19 Page 7of10 PagelD 22

March 2018. IBC Bank account XXXXX31846 titled “Reagor-Dykes Amarillo LP” was
opened on July 17, 2017. Deposit and withdrawal activity in IBC Bank account
XXXXX31846 also rose exponentially. Deposits rose from zero in February 2018 to a
peak of $29,725,256.68 in July 2018. Much of the increased deposit and withdrawal
activity in these accounts can be attributed to intercompany checks.

11. Some of the emails the FBI recovered show Williams and co-conspirators
discussing the check-kiting scheme. For example, on March 24, 2017, Williams emailed
the following instructions to the Amarillo location:

“Good morning! Shane wanted me to email you and ask if you could please

cut about $320k in checks to RDAC and $320k to RDT and send them with

a runner early this morning. We will be depositing checks for Amarillo today

to offset. I know it’s short notice, but if your runner could leave by 11 or

11:15, we would really appreciate it. Thank you so much!”

Moreover, on September 25, 2017, Williams emailed the following instructions to the
Amarillo store: “Can you please cut 450k in checks to Snyder and send them with a runner
ASAP this moming? Please cut from account 1106 controlled by 13443. Thank you!!”

12. Once the kite collapsed, 33 intercompany checks totaling $1,639,799.00,
which were all drawn on FCBTX account XXXXX144 titled “Reagor Auto Mall Ltd,” and
all of which had been deposited into FirstBank & Trust account XXXXX15978 titled
“Reagor Auto Mall Ltd” in the latter days of July 2018, were returned to FirstBank & Trust
by FCBTX due to “uncollected funds hold.” The 33 returned checks were dated between
July 26, 2018 and July 30, 2018. The collapse of the kite resulted in a balance of

-$1,402,586.47 in RAM’s FCBTX account XXXXX144 as of August 31, 2018, and a

balance of -$1,595,395.83 in RAM’s FirstBank & Trust account XXXXX15978 as of

Lindsay Clare Williams
Factual Resume—Page 7

 

 
Case 2:19-cr-00118-Z-BR Document 7 Filed 10/07/19 Page 8of10 PagelD 23

August 19, 2018. The kite collapse also resulted in a balance of -$333,175.79 in FCBTX
account XXXXX488 as of August 31, 2018, and a balance of -$1,205,333.63 in IBC Bank

account XXXXX31846 as of August 31, 2018.

13. As of April 17, 2019, the actual loss due to the check-kiting scheme

for the 19 accounts is as follows:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Factual Resume—Page 8

Account # Bank Name on Account Estimated kite loss
XXXXX1179 AimBank Reagor-Dykes Motors LP 0.00
AXXXX 3183 AimBank Reagor-Dykes Snyder LP ~1,922,279.10
XXXXX02177610 | BB&T Reagor-Dykes Snyder LP
. 0.00
Funding Account
AXKXX 15978 stBank and | Reagor Auto Mall LTD -1,595,395.83
XXXXX 991 FCBTX D and R Acquisitions LLC - 0.00
Real Estate
XXXXX 144 FCBTX Reagor Auto Mall Ltd 0.00
XXXXX 488 FCBTX Reagor-Dykes Amarillo LP -333,175.79
XXXXX 013 FCBTX Reagor-Dykes Floydada LP - 105,487.80
XXXXX 31714 IBC Bank D and R Acquisitions LLC -2,678,971.00
XXXXX 31811 IBC Bank Reagor-Dykes Auto 705,133.48
Company LP
XXXKX 31838 IBC Bank Reagor-Dykes Imports LP -57,854.44
XXXXX 31846 IBC Bank Reagor-Dykes Amarillo LP -1,205,333.63
XXXXX 31862 IBC Bank Reagor-Dykes Plainview LP ~703,657.91
XXXXX 32117 IBC Bank D and R Acquisitions LLC -160,563.44
XXXXX 34 Liberty Reagor-Dykes Auto Direct 0.00
Capital Bank | of Dallas
XXXXKX 8379 Peoples Bank | Reagor-Dykes Snyder LP 0.00
XXXXX 93 Vista Bank Reagor-Dykes Auto -4,122,621.72
Company LP
XXXKX 94 Vista Bank Reagor-Dykes Imports LP -5,319,002.00
XXXXX 88 Vista Bank Reagor-Dykes Plainview LP ~4,180,097.56
total: -23,089,573.70
Lindsay Clare Williams

 
Case 2:19-cr-00118-Z-BR Document 7 Filed 10/07/19 Page9of10 PagelD 24

14. After many RDAG entities filed for bankruptcy, BlackBriar Advisors LLC
became the Chief Restructuring Officer for the RDAG bankruptcy cases. According to
D. Lyndon James, the Acting Chief Financial Officer, “Williams has been instrumental in
helping BlackBriar understand the automobile dealership business, the operations of the
various Reagor Dykes dealerships, and the complex administrative process of the
industry.” Moreover, according to James, Williams has assisted RDAG customers with
“obtaining or regaining legal rights to the vehicles they purchased or the ones they traded
in,” “[t]he floor plan lenders . . . have relied heavily on [] Williams to support their
efforts to recover vehicles and/or compensation for vehicles that belonged to them pre-
bankruptcy,” and “Williams has been the key contact within the team with retail
automotive lenders concerning vehicles they have funded.”

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Lindsay Clare Williams
Factual Resume—Page 9

 
Case 2:19-cr-00118-Z-BR Document 7 Filed 10/07/19 Page 10o0f10 PagelD 25

15. The defendant agrees that the defendant committed all the essential

elements of the offense(s). This factual resume is not intended to be a complete

accounting of all the facts and events related to the offense charged in this case. The

limited purpose of this statement of facts is to demonstrate that a factual basis exists to

support the defendant’s guilty plea to Count One of the Information.
AGREED TO AND STIPULATED on this 4 3 day of Hpjey ber , 2019.

 

 

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Lindsay Clare Williams

Factual Resume—Page 10

 
